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           EXHIBIT A
                 Case 2:22-cv-04953-BMS Document 5-5 Filed 12/19/22 Page 2 of 2




From:                            King, Jr., Adrian R. (Phila)
Sent:                            Tuesday, November 22, 2022 4:58 PM
To:                              Elbaum, Lawrence
Cc:                              Cohen, H. Rodgin; Eitel, Mitchell S.; Frawley, Brian T.; Fishman, Jared M.; Lum-Tai, Natalie
                                 A.; Woods, Devlin H.; Goldberger, M. Norman (Phila); Krabill, Laura E. (Phila); Summers,
                                 Shawn (Phila); Wynne, Ryan; Charlson, Michael
Subject:                         Norcross v. Republic First Bancorp, Inc., Phila. County Court of Common Pleas, Case ID#:
                                 221102195
Attachments:                     2022.11.22 Norcross Voting Rights Complaint (Stamped).zip



Lawrence:

Attached please find a courtesy copy of the Complaint filed this afternoon on behalf of our
clients in the Philadelphia County Court of Common Pleas.

Please advise whether you are authorized by your clients to accept service on their behalf.

We prefer to avoid formal service.

Sincerely,

ARK

Adrian R. King, Jr.
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